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 6   Attorneys for Defendant
     COINBASE GLOBAL, INC.
 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                       OAKLAND DIVISION
11
     ADAM ALFIA, individually and on behalf of          Case No. 4:21-cv-08689-HSG
12   other persons similarly situated,
                                                        STIPULATION AND ORDER
13                  Plaintiffs,
14             v.                                       Ctrm.:       2, 4th Floor
                                                        Judge:       Haywood S. Gilliam, Jr.
15   COINBASE GLOBAL, INC., and DOES 1
     through 50, inclusive,                             Date Filed: November 8, 2021
16
                    Defendants.                         Trial Date: Not set
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                                        STIPULATION AND ORDER
                                        Case No. 4:21-cv-08689-HSG
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 1                                             STIPULATION

 2             Pursuant to Civil Local Rules 6-1 and 7-12, Plaintiff Adam Alfia and Defendant Coinbase

 3   Global, Inc. (“Coinbase Global”), by and through their respective counsel of record, hereby

 4   stipulate as follows:

 5             WHEREAS, on November 8, 2021, Plaintiff filed a Complaint against Coinbase Global in

 6   this matter, Dkt. 1;

 7             WHEREAS, on November 16, 2021, Plaintiff served a copy of the summons and

 8   Complaint on Coinbase Global, such that Coinbase Global’s deadline to answer or otherwise

 9   respond to the Complaint would otherwise be December 7, 2021;

10             WHEREAS, the parties have met and conferred, and Coinbase Global has explained that it

11   intends to file both (1) a motion to compel arbitration and (2) if necessary, a motion to dismiss the

12   Complaint;

13             WHEREAS, to conserve the parties’ and the Court’s resources, the parties have agreed to

14   phase briefing for the aforementioned motions; and

15             WHEREAS, the parties have further agreed to a briefing schedule that takes into account

16   the upcoming holidays and counsel’s pre-existing commitments;

17             NOW, THEREFORE, THE PARTIES STIPULATE AS FOLLOWS:

18             Coinbase shall have until January 21, 2022 to file a Motion to Compel Arbitration

19   (“MTC”) without waiving its defenses and while preserving its right to file a separate motion

20   under Federal Rule of Civil Procedure (“Rule”) 12 (or otherwise respond to the Complaint) at a

21   later date.

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23             IT IS SO STIPULATED.

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                                           STIPULATION AND ORDER
                                           Case No. 4:21-cv-08689-HSG
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       Case 4:21-cv-08689-HSG Document 14 Filed 12/03/21 Page 3 of 4



 1   Dated: December 2, 2021                                    KEKER, VAN NEST & PETERS LLP

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                                                        By:     /s/ Erin E. Meyer
 3
                                                                ERIN E. MEYER
 4
                                                                Attorneys for Defendant
 5                                                              COINBASE GLOBAL, INC.

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 7   Dated: December 2, 2021                                    McCATHERN LLP

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                                                        By:     /s/ Evan Selik
 9                                                              EVAN SELIK
10                                                              CHRISTINE ZAOUK

11                                                              Attorneys for Plaintiff
                                                                ADAM ALFIA
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14                                              ATTESTATION
15             Pursuant to Local Rule 5-1(i)(3), I attest that each signatory above has concurred in the
16   filing of this document and has authorized the use of his or her electronic signature.
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18   Dated: December 1, 2021                                  /s/ Erin E. Meyer
19                                                            Erin E. Meyer

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                                            STIPULATION AND ORDER
                                            Case No. 4:21-cv-08689-HSG
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 1                                      ORDER

 2   PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that:

 3             •    Coinbase may first file a Motion to Compel Arbitration (“MTC”) without waiving

 4                  its defenses and while preserving its right to file a separate motion under Federal

 5                  Rule of Civil Procedure 12 (or otherwise respond to the Complaint) at a later date.

 6             •    Coinbase shall have until January 21, 2022 to file its MTC.

 7             IT IS SO ORDERED.

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 9             12/3/2021
     DATED: _________________                     ______________________________________
                                                  HONORABLE HAYWOOD S. GILLIAM, JR.
10                                                JUDGE OF THE DISTRICT COURT

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                                         STIPULATION AND ORDER
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